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                Affidavit affidavit of Jeffrey Simon Page 1 of 3



SIMON GREENSTONE PANATIER, PC
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Counsel for Various Mesothelioma Talc Claimants


                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

____________________________________
 In re:                                                     Chapter 11

 LTL MANAGEMENT LLC,                                        Case No. 23-12825 (MBK)

                  Debtor.                                   Judge: Michael B. Kaplan
____________________________________

                        AFFIDAVIT OF JEFFREY B. SIMON, ESQ.
 STATE OF TEXAS                        )
 COUNTY OF                             )

        I, JEFFREY SIMON being of full age and sworn according to law, depose and say:

        1.     I am an attorney admitted to the practice of law in the States of California, New

York, and Texas.

        2.     I am an attorney with the firm of Simon Greenstone Panatier, PC. I am a resident

of the State of Texas and my office address is 1201 Elm Street, Ste 3400, Dallas, Texas 75270. I

submit this affidavit in support of my application for admission pro hac vice in this matter as an

Interested Party representing Various Talc Claimants.

        3.     I am a member in good standing of three State Bars, having been admitted in the

following states with corresponding dates of admission: New York (Bar No. 4301719; February

2005); California (Bar No. 262422; February 2009); and Texas (Bar No. 00788420; November
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1993). I submit the Certificates of Good Standing, attached to this Affidavit as Exhibit A. All are

dated within thirty (30) days of this Affidavit, as required by Local Civil Rule 1.3(a).

          4.    I received my juris doctorate from University of Texas in 1993. Since being

admitted, I have been engaged in and litigated and tried cases in state courts in the United States,

including the New York Supreme Court Appellate Division Third Judicial DPT.

          5.    I have never been held in contempt of court.         I have never been censured,

suspended, disbarred or denied admission or readmission by any trial or bankruptcy court.

          6.    I am associated in the within matter with Leah C. Kagan, an attorney admitted to

the bar of the courts of the State of New Jersey and in the United States District Court of New

Jersey.

          7.    I have obtained a copy of the Local Bankruptcy Rules and am generally familiar

with such rules. I will comply with all court and ethical rules governing the practice of law before

this Court.

          8.    I further agree to pay all fees to the Clerk of the United States Bankruptcy Court

for the District of New Jersey and the Lawyer’s Fund for Client Protection as provided in the Local

Rules of the United States District Court for the District of New Jersey.

          9.    I will faithfully adhere to all rules applicable to my conduct in connection with any

activities in this Court.

 Dated: New York, New York
        April 18, 2023
                                                       Respectfully submitted,

                                                       /s/ Jeffrey Simon
                                                       Jeffrey Simon, Esq.
                                                       SIMON GREENSTONE PANATIER, P.C.
                                                       1201 Elm Street, Ste 3400
                                                       Dallas, Texas 75270
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